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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                        8:17CR65

        vs.
                                                                           ORDER
CHARLES T. MORRIS,

                       Defendant.


        This matter is before the court on defendant's unopposed MOTION TO CONTINUE
DEADLINE FOR FILING PRETRIAL MOTIONS [48]. For good cause shown, I find that the
motion should be granted. The defendant will be given an approximate 28-day extension. Pretrial
Motions shall be filed by September 5, 2017.
        IT IS ORDERED:
        1.     Defendant's unopposed MOTION TO CONTINUE DEADLINE FOR FILING
PRETRIAL MOTIONS [48] is granted.          Pretrial motions shall be filed on or before September 5,
2017.
        2.     Defendant is ordered to file the affidavit required by as required by NECrimR 12.3(a)
forthwith.
        3.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between August 8, 2017 and September 5, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        Dated this 9th day of August, 2017.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
